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 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10

                                                Case No. '23CV1797 JLS BLM
11
     LAURA WILLIS ALBRIGO and ANITA
12   JOHNSON, individually and on behalf of
     all other persons similarly situated,      CLASS ACTION COMPLAINT
13
                                 Plaintiffs,    JURY TRIAL DEMANDED
14

15         vs.

16   MGM RESORTS INTERNATIONAL,
17                               Defendant.
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     CLASS ACTION COMPLAINT
 1         Plaintiffs Laura Willis Albrigo and Anita Johnson (“Plaintiffs”) file this class
 2   action complaint on behalf of themselves and all others similarly situated against
 3   Defendant MGM Resorts International (“MGM” or “Defendant”). Plaintiffs bring this
 4   action based upon personal knowledge of the facts pertaining to themselves, and on
 5   information and belief as to all other matters, by and through the investigation of
 6   undersigned counsel.
 7                               NATURE OF THE ACTION
 8         1.     Plaintiffs bring this class action lawsuit on behalf of all California
 9   residents who have stayed at Defendant’s resort hotels or spent money in Defendant’s
10   casinos nationwide.
11         2.     Plaintiffs seek to hold Defendant responsible for the injuries Defendant
12   inflicted on Plaintiffs and thousands of similarly situated persons (“Class members”)
13   due to Defendant’s impermissibly inadequate data security, which caused the personal
14   information of Plaintiffs and those similarly situated to be exfiltrated by unauthorized
15   cybercriminals (the “Data Breach” or “Breach”) at a still undetermined and/or
16   undisclosed time. The Breach was made public on or around September 7, 2023.1
17                              JURISDICTION AND VENUE
18         3.     The Court has personal jurisdiction over the matter because the events
19   giving rise to the cause of action occurred as a result of Defendant’s purposely directed
20   contacts with California and its residents.
21         4.     This Court has subject matter and diversity jurisdiction over this action
22   under 28 U.S.C. § 1332(d) because this is a class action wherein the amount of
23   controversy exceeds the sum or value of $5 million, exclusive of interest and costs,
24   there are more than 100 members in the proposed classes, and at least one Class
25   Member, is a citizen of a state different from Defendant.
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      Hackers say they stole 6 terabytes of data from casino giants MGM, Caesars,
27   Reuters, https://www.reuters.com/business/casino-giant-caesars-confirms-data-
28   breach-2023-09-14/ (last visited Sept. 23, 2023).
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     CLASS ACTION COMPLAINT
1          5.     Venue is proper in this District under 28 U.S.C. §1391(b) because a
2    substantial portion of the events giving rise to Plaintiffs’ claims occurred here.
3                                        THE PARTIES
4    Defendant
5          6.     Defendant MGM Resorts International is a Delaware corporation with its
6    principal place of business located at 3600 Las Vegas Boulevard South, Las Vegas,
7    Nevada 89109. Defendant owns and operates entertainment and hospitality
8    establishments across the world, with majority of its locations within the United States.
9    Plaintiffs
10         7.     Plaintiff Laura Willis Albrigo is an adult citizen of the state of California
11   and is domiciled in San Diego, California.
12         8.     Plaintiff Albrigo has stayed at the Mandalay Bay hotel and casino, owned
13   and operated by Defendant and located in Las Vegas, Nevada.
14         9.     Plaintiff Anita Johnson is an adult citizen of the state of California and is
15   domiciled in Castaic, California.
16         10.    Plaintiff Johnson has stayed at the Park MGM hotel and casino, as well
17   as the Luxor hotel and casino, both owned and operated by Defendant and located in
18   Las Vegas, Nevada.
19                               FACTUAL ALLEGATIONS
20         11.    Defendant is an international hotel and casino entertainment company
21   who owns and operates casino gaming brands with resorts throughout the United
22   States, which include dining, live entertainment, accommodations, shopping, and
23   gaming.
24         12.    As a condition of receiving its products and/or services, Defendant
25   requires consumers, including Plaintiffs and Class members, to entrust it with highly
26   sensitive personal information, including individuals’ name, address, date of birth,
27   driver’s license or state ID number, and Social Security number (“personally
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     CLASS ACTION COMPLAINT
1    identifiable information” or “PII”).2 Defendant retains this information for at least
2    many years and even after the consumer relationship has ended.
3            13.    Defendant made promises and representations to its consumers, including
4    Plaintiffs and Class members, that the PII collected from them would be kept safe,
5    confidential, that the privacy of that information would be maintained, and that
6    Defendant would delete any sensitive information after it was no longer required to
7    maintain it.
8            14.    Indeed, Defendant’s Privacy Policy provides that: “[i]nformation
9    maintained in electronic form that is collected by MGM Resorts International and any
10   individual MGM Resort is stored on systems protected by industry standard security
11   measures. These security measures are intended to protect these systems from
12   unauthorized access.”3
13           15.    Plaintiffs and Class members have taken reasonable steps to maintain the
14   confidentiality of their PII. Plaintiffs and Class members provided their PII to
15   Defendant with the reasonable expectation and on the mutual understanding that
16   Defendant would keep their sensitive PII confidential, maintain its system security,
17   use the PII for business purposes only, and to only disclose the information to
18   authorized and trusted personnel.
19           16.    Defendant had a duty to adopt reasonable measures to protect the PII of
20   Plaintiffs and Class members from involuntary disclosure to third parties. Defendant
21   has a legal duty to keep consumers’ PII safe and confidential.
22           17.    Defendant had obligations created by the FTC Act, contract, industry
23   standards, and representations made to Plaintiffs and Class members, to keep their PII
24   confidential and to protect it from unauthorized access and disclosure.
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26   2
      https://www.bleepingcomputer.com/news/security/mgm-resorts-shuts-down-it-
27   systems-after-cyberattack/ (last accessed Sep. 20, 2023).
     3
28       https://www.mgmresorts.com/en/privacy-policy.html
                                                 3
     CLASS ACTION COMPLAINT
1          18.    Defendant derived a substantial economic benefit from collecting
2    Plaintiffs’ and Class members’ PII. Without the required submission of PII, Defendant
3    could not perform the services it provides.
4          19.    By obtaining, collecting, using, and deriving a benefit from Plaintiffs’
5    and Class members’ PII, Defendant assumed legal and equitable duties and knew or
6    should have known that it was responsible for protecting Plaintiffs’ and Class
7    members’ PII from disclosure.
8          A.     The Data Breach
9          20.    On September 11, 2023, MGM posted a message on their social media
10   informing consumers they were experiencing a “cyber security incident” that was
11   affecting some of their “systems.”4 For the following ten days, MGM consumers
12   reported being unable to use electronic room keycards, wireless internet, ATM kiosks,
13   make electronic payments, use MGM resort services, or use electronic gambling
14   devices like slot machines.5
15         21.    At least two cybercriminal groups have taken credit for the attack against
16   Defendant. First, a hacking group known as “The Scatter Spider” took credit for
17   accessing and acquiring “six terabytes of data from the systems of multi-billion-dollar
18   casino operators MGM Resorts International[.]”6
19         22.    The following day, on September 12, 2023, a group of cyberattackers
20   known as ALPHV claimed responsibility for the attack by tweeting that they infiltrated
21   the MGM system by identifying an employee through LinkedIn and making one phone
22
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      https://twitter.com/MGMResortsIntl?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweete
23   mbed%7Ctwterm%5E1701256032369164399%7Ctwgr%5Eeaf0d08b5dabae5a8794
24   c74343c6044f1b637463%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.cshub
     .com%2Fattacks%2Fnews%2Fa-full-timeline-of-the-mgm-resorts-cyber-attack
25   5
       https://www.wusa9.com/article/news/nation-world/mgm-resorts-computers-
26   restored-after-10-day-shutdown/507-960b53d2-c1c7-4c29-8fe7-e10b17a5d203
27   6
      https://www.reuters.com/business/casino-giant-caesars-confirms-data-breach-2023-
28   09-14/.
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     CLASS ACTION COMPLAINT
1    call to the tech support department. They further stated “[a] company valued at
2    $33,900,000,000 was defeated by a 10 minute conversation.”7
3            23.   On September 14, 2023, ALPHV issued a statement regarding the
4    cyberattacks, stating that although they had been in MGM’s systems since September
5    8, 2023, they did not deploy any ransomware attacks until September 11, 2023 “after
6    trying to get in touch [with MGM] but failing.” The group further explained MGM’s
7    “mixed responses” and efforts with negotiations.8
8            24.   A ransomware attack, like the one MGM experienced, is a “software
9    cybercriminals use to block you from accessing your own data” to “encrypt the files
10   on your system” and hold the data hostage until the demanded ransom is paid.9
11   According to the Center for Internet Security, companies should treat ransomware
12   attacks as any other data breach incident because ransomware attacks don’t just hold
13   networks hostage and/or publicly post the data—rather, “ransomware groups sell
14   stolen data in cybercriminal forums and dark web marketplaces for additional
15   revenue.”10
16           25.   A marketplace report released in 2020 found over 50% of ransomware
17   attackers exfiltrated data from a network before encrypting it. 11 Once the data is
18   exfiltrated from a network, its confidential nature is destroyed and it should be
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20   7
      https://www.forbes.com/sites/suzannerowankelleher/2023/09/13/ransomware-
21   attack-mgm-resorts/?sh=7b455d3d5f38
     8
      https://www.cybersecurityconnect.com.au/commercial/9567-alphv-ransomware-
22
     gang-releases-lengthy-statement-on-mgm-
23   hack#:~:text=%E2%80%9CAs%20reported%2C%20MGM%20shut%20down,to%2
     0set%20the%20record%20straight.%E2%80%9D&text=According%20to%20ALPH
24
     V%20%E2%80%93%20it%20is,to%20them%20being%20shut%20down.
25   9
         https://www.unitrends.com/solutions/ransomware-education
26   10
       https://www.cisecurity.org/insights/blog/ransomware-the-data-exfiltration-and-
27   double-extortion-trends
     11
28        https://www.coveware.com/blog/q3-2020-ransomware-marketplace-report
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     CLASS ACTION COMPLAINT
1    “assume[d] it will be traded to other threat actors, sold, or held for a second/future
2    extortion attempt.”12 And even where companies pay for the return of data, attackers
3    often leak or sell the data regardless because there is no way to verify copies of the
4    data are destroyed.
5               B.    Defendant Acquires, Collects, and Stores Plaintiffs’ and Class
6                     Members’ Valuable PII.
7               26.   Defendant collected, retained, and stored the PII of Plaintiffs and Class

8    members and derived a substantial economic benefit from that PII. But for the

9    collection of Plaintiffs’ and Class members’ PII, Defendant would not be unable to

10   perform its services.

11              27.   Individuals, including Plaintiffs and Class members, who have stayed at

12   Defendant’s resorts, utilized Defendant’s entertainment services, including its casinos,

13   and/or sought to join the MGM Rewards loyalty program were required to entrust

14   Defendant with sensitive, non-public PII, to obtain entertainment and/or hospitality

15   services from Defendant. Defendant retains this information for at least many years,

16   even after the consumer relationship has ended.

17              28.   By obtaining, collecting, and storing the PII of Plaintiffs and Class

18   members, Defendant assumed legal and equitable duties and knew or should have

19   known that it was responsible for protecting the PII from disclosure.

20              29.   The PII of individuals remains of high value to criminals, as evidenced

21   by the prices they will pay through the dark web. Numerous sources cite dark web

22   pricing for stolen identity credentials.13

23              30.   Driver’s license numbers, which were likely compromised in the Data

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     12
25        Id.
     13
26     Your personal data is for sale on the dark web. Here’s how much it costs,
     DIGITAL TRENDS, Oct. 16, 2019,
27   https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-
28   much-it-costs/ (last visited Sept. 25, 2023).
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     CLASS ACTION COMPLAINT
1    Breach, are incredibly valuable. “Hackers harvest license numbers because they’re a
2    very valuable piece of information.”14 A driver’s license can be a critical part of a
3    fraudulent, synthetic identity – which go for about $1,200 on the dark web. On its own,
4    a forged license can sell for around $200.15
5               31.   According to cybersecurity specialty publication CPO Magazine, “[t]o
6    those unfamiliar with the world of fraud, driver’s license numbers might seem like a
7    relatively harmless piece of information to lose if it happens in isolation.”16 However,
8    this is not the case. As cybersecurity experts point out:
9                     “It’s a gold mine for hackers. With a driver’s license
10                    number, bad actors can manufacture fake IDs, slotting in the
                      number for any form that requires ID verification, or use the
11                    information to craft curated social engineering phishing
12                    attacks.”17
13              32.   Victims of driver’s license number theft also often suffer unemployment
14   benefit fraud, as described in a recent New York Times article.18
15              33.   Based on the foregoing, the information at issue in the Data Breach is
16   significantly more valuable than the loss of, for example, credit card information in a
17   retailer data breach because, there, victims can cancel or close credit and debit card
18
     14
19      Hackers Stole Customers’ License Numbers From Geico In Months-Long Breach,
     Forbes, Apr. 20, 2021, available at:
20
     https://www.forbes.com/sites/leemathews/2021/04/20/hackers-stole- customers-
21   license-numbers-from-geico-in-months-long-breach/?sh=3bda585e8658 (last visited
     Sept. 25, 2023).
22
     15
          Id.
23   16
        https://www.cpomagazine.com/cyber-security/geico-data-breach-leaks-drivers-
24   license-numbers-advises-customers-to-watch-out-for-fraudulent-unemployment-
25   claims/
     17
26        Id.
     18
       How Identity Thieves Took My Wife for a Ride, NY Times, April 27, 2021,
27
     available at: https://www.nytimes.com/2021/04/27/your-money/identity-theft-auto-
28   insurance.html (last visited on Sept. 21, 2023).
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     CLASS ACTION COMPLAINT
1    accounts. The information compromised in this Data Breach is impossible to “close”
2    and difficult, if not impossible, to change.
3          34.    Moreover, Social Security numbers are among the worst kind of PII to
4    have stolen because they may be put to a variety of fraudulent uses and are difficult
5    for an individual to change. The Social Security Administration stresses that the loss
6    of an individual’s Social Security number can lead to identity theft and extensive
7    financial fraud.19
8          35.    Among other forms of fraud, identity thieves may obtain driver’s
9    licenses, government benefits, medical services, and housing or even give false
10   information to police.
11         36.    The fraudulent activity resulting from the Data Breach may not come to
12   light for years. There may be a time lag between when harm occurs versus when it is
13   discovered, and also between when PII is stolen and when it is used.
14         37.    The information held by Defendant in its computer systems at the time of
15   the Data Breach included the unencrypted PII of Plaintiffs and Class members.
16         C.     Defendant Knew Or Should Have Known It Was At Risk Of
                  Cyberattacks
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           38.    Defendant was aware of its vulnerabilities to cyberattacks like the one
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     alleged. On August 31, 2023, Okta, the IT vendor used by Defendant, warned of “a
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     consistent pattern of social engineering attacks against IT service desk personnel, in
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     which the caller’s strategy was to convince service desk personnel to reset all Multi-
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     factor Authentication (MFA) factors enrolled by highly privileged users.” In their
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     statement, Okta included a list of tactics hackers were using, as well as a “detailed set
23
     of recommendations” for companies to implement to prevent a ransomware hacking
24
25
26   19
       Social Security Administration, Identity Theft and Your Social Security Number,
27   available at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Sept. 25,
28   2023).
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     CLASS ACTION COMPLAINT
1    like the one that occurred.20
2          39.    This type of social engineering attack Okta warned Defendant of is the
3    exact type of attack Defendant fell victim to.21
4          40.    Data thieves regularly target companies like Defendant due to the highly
5    sensitive information in their custody. Defendant knew and understood that
6    unprotected PII is valuable and highly sought after by sophisticated criminal parties
7    who seek to illegally monetize that PII through unauthorized access.
8          41.    According to the Identity Theft Resource Center’s 2022 Data Breach
9    Report, 1,802 data compromises were reported in 2022, with 422.1 million people
10   affected by the reported breaches.22
11         42.    In fact, Defendant has been the subject of previous data hacks. In 2019,
12   the personal information of over 10.6 million MGM hotel guests were obtained by
13   cyberattackers and were subsequently published publicly on the internet.23 More
14   recently in November 2022, BetMGM, an online gaming platform owned by
15   Defendant, alerted customers that their personal information was compromised in a
16   data breach five months prior and was just now discovered. Since the breach, records
17   of over 1.5 million BetMGM consumers have been offered for sale on the dark web.24
18         43.    In light of Okta’s warnings to Defendant, Defendant’s own experience
19   with cyberattacks and breaches, and myriad recent high profile data breaches at other
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     20
21     https://sec.okta.com/articles/2023/08/cross-tenant-impersonation-prevention-and-
     detection?ref=thestack.technology.
22   21
       https://www.techtarget.com/searchsecurity/news/366552775/Okta-Caesars-MGM-
23   hacked-in-social-engineering-campaign.
     22
24     https://www.idtheftcenter.org/post/2022-annual-data-breach-report-reveals-near-
     record-number-compromises/.
25   23
       https://www.zdnet.com/article/exclusive-details-of-10-6-million-of-mgm-hotel-
26   guests-posted-on-a-hacking-forum/.
27   24
       https://www.bleepingcomputer.com/news/security/leading-sports-betting-firm-
28   betmgm-discloses-data-breach/
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     CLASS ACTION COMPLAINT
1    industry leading companies, including Microsoft, Wattpad, Facebook, Twitter, and
2    Estee Lauder, Defendant knew or should have known that the PII they collected and
3    maintained could and would be targeted by cybercriminals.
4          44.    Despite this, Defendant did not use reasonable security procedures and
5    practices appropriate to the nature of the sensitive information they were maintaining
6    for Plaintiffs and Class members, allowing the attackers free access to the PII stored
7    therein. Defendant failed to implement procedures like those recommended by Okta,
8    failed to properly verify the credentials of the attacker, and failed to have in place
9    systems to prevent and detect the ransomware attack.
10         45.    At all relevant times, Defendant knew, or reasonably should have known,
11   of the importance of safeguarding the PII of Plaintiffs and Class members and of the
12   foreseeable consequences that would occur if Defendant’s data security system was
13   breached, including, specifically, the significant costs that would be imposed on
14   Plaintiffs and Class members as a result of a breach.
15         46.     Defendant was, or should have been, fully aware of the unique type and
16   the significant volume of data on Defendant’s server(s), amounting to, upon
17   information and belief, potentially millions of individuals’ detailed PII, and, thus, the
18   significant number of individuals who would be harmed by the exposure of the
19   unencrypted data.
20         47.    Upon information and belief, Plaintiffs’ and Class members’ unencrypted
21   PII was compromised and stolen by the cyberattackers in the September 2023 Data
22   Breach. Plaintiffs further believe their PII, and that of Class members, has been or will
23   be sold on the dark web, as that is the modus operandi of cybercriminals that commit
24   cyber-attacks of this type.
25         48.    Defendant could have prevented the Data Breach by implementing the
26   recommendations sent by Okta, properly securing its network and encrypting the files
27   and files servers containing the PII of Plaintiffs and Class members, and by taking the
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     CLASS ACTION COMPLAINT
1    necessary steps to prevent further breaches from occurring after previous hacking
2    incidents.
3          49.    Once it was made aware of the Data Breach, Defendant did not take any
4    action to alert Plaintiffs and Class members of the Breach, nor did it take reasonable
5    steps in negotiating and ensuring the PII would not be further compromised or made
6    public. In fact, Defendant has yet to disclose any information regarding the details of
7    the Data Breach to those injured, including Plaintiffs and Class members.
8          50.    Plaintiffs and Class members have taken reasonable steps to maintain the
9    confidentiality of their PII and relied on Defendant to keep their PII confidential and
10   maintained securely, to use this information for business purposes only, and to make
11   only authorized disclosures of this information.
12         D.     Defendant Failed To Comply With FTC Guidelines
13         51.    The Federal Trade Commission (“FTC”) has promulgated numerous
14   guides for businesses which highlight the importance of implementing reasonable data
15   security practices. According to the FTC, the need for data security should be factored
16   into all business decision making. Indeed, the FTC has concluded that a company’s
17   failure to maintain reasonable and appropriate data security for consumers’ sensitive
18   personal information is an ‘unfair practice’ in violation of Section 5 of the Federal
19   Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g., FTC v. Wyndham
20   Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).
21         52.    In October 2016, the FTC updated its publication, Protecting Personal
22   Information: A Guide for Business, which established cybersecurity guidelines for
23   businesses. The guidelines note that businesses should protect the personal consumer
24   information that they keep, properly dispose of personal information that is no longer
25   needed, encrypt information stored on computer networks, understand their network’s
26   vulnerabilities, and implement policies to correct any security problems. The
27   guidelines also recommend that businesses use an intrusion detection system to expose
28   a breach as soon as it occurs, monitor all incoming traffic for activity indicating
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     CLASS ACTION COMPLAINT
1    someone is attempting to hack into the system, watch for large amounts of data being
2    transmitted from the system, and have a response plan ready in the event of a breach.
3          53.    The FTC further recommends that companies not maintain PII longer
4    than is needed for authorization of a transaction, limit access to sensitive data, require
5    complex passwords to be used on networks, use industry-tested methods for security,
6    monitor the network for suspicious activity, and verify that third-party service
7    providers have implemented reasonable security measures.
8          54.    The FTC has brought enforcement actions against businesses for failing
9    to adequately and reasonably protect consumer data by treating the failure to employ
10   reasonable and appropriate measures to protect against unauthorized access to
11   confidential consumer data as an unfair act or practice prohibited by the FTCA. Orders
12   resulting from these actions further clarify the measures businesses must take to meet
13   their data security obligations.
14         55.    As evidenced by the Data Breach, Defendant failed to properly
15   implement basic data security practices and failed to audit, monitor, or ensure the
16   integrity of its vendor’s data security practices. Defendant’s failure to employ
17   reasonable and appropriate measures to protect against unauthorized access to
18   Plaintiffs’ and Class members’ PII constitutes an unfair act or practice prohibited by
19   Section 5 of the FTCA.
20         56.    Defendant was at all times fully aware of its obligation to protect the PII
21   of its consumers yet failed to comply with such obligations. Defendant was also aware
22   of the significant repercussions that would result from its failure to do so.
23         E.     Defendant Failed To Comply With Industry Standards
24         57.    Despite its alleged commitment to securing sensitive PII, Defendant does
25   not follow industry standard practices in securing PII.
26         58.    Some industry best practices that should be implemented by
27   entertainment companies dealing with sensitive PII, like Defendant, include but are
28   not limited to: educating all employees, strong password requirements, multilayer
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     CLASS ACTION COMPLAINT
1    security including firewalls, anti-virus and anti-malware software, encryption, multi-
2    factor authentication, backing up data, and limiting which employees can access
3    sensitive data. As evidenced by the Data Breach, Defendant failed to follow some or
4    all of these industry best practices.
5          59.    Other best cybersecurity practices that are standard in the entertainment
6    industry include: installing appropriate malware detection software; monitoring and
7    limiting network ports; protecting web browsers and email management systems;
8    setting up network systems such as firewalls, switches, and routers; monitoring and
9    protecting physical security systems; and training staff regarding these points. As
10   evidenced by the Data Breach, Defendant failed to follow these cybersecurity best
11   practices.
12         60.    Defendant failed to meet the minimum standards of any of the following
13   frameworks: the NIST Cybersecurity Framework Version 1.1 (including without
14   limitation PR.AC- 1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1,
15   PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8,
16   and RS.CO-2), and the Center for Internet Security’s Critical Security Controls (CIS
17   CSC), which are all established standards in reasonable cybersecurity readiness.
18         61.    Defendant failed to comply with these accepted standards in the
19   entertainment industry, thereby permitting the Data Breach to occur.
20         F.     Common Injuries and Experiences of Plaintiffs and Class Members
21         62.    Plaintiffs and Class members are California residents who have stayed at
22   one or multiple of Defendant’s resorts, and/or utilized Defendant’s entertainment
23   offerings, including spending money in one or multiple of Defendant’s casinos. In
24   doing so, Plaintiffs and Class members were required to provide their PII to Defendant,
25   including but not limited to, name, date of birth, contact information, and Social
26   Security number.
27         63.    At the time of the Data Breach, Defendant retained Plaintiffs’ PII in its
28   system.
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     CLASS ACTION COMPLAINT
1          64.    Plaintiffs are very careful about sharing their sensitive PII. Plaintiffs
2    regularly monitor their credit and banking information and have increased their
3    monitoring since learning of the breach. Plaintiffs have changed their relevant
4    passwords and pins since learning of the breach. Plaintiff Johnson cancelled a credit
5    card, and got new cards issued for two other accounts out of caution since learning of
6    the breach, including one that was flagged for possible fraudulent activity.
7          65.    Plaintiffs have never knowingly transmitted unencrypted sensitive PII
8    over the internet or any other unsecured source. Plaintiffs would not have entrusted
9    their PII to Defendant had he known of Defendant’s lax data security policies.
10         66.    When Defendant announced the Data Breach, it deliberately underplayed
11   the Breach’s severity and obfuscated the nature of the Breach. To date, Defendant has
12   failed to explain how the Breach occurred (what security weakness was exploited),
13   what exact data elements of each affected individual were compromised, who the
14   Breach was perpetrated by, and the extent to which those data elements were
15   compromised.
16         67.    Because of the Data Breach, Defendant inflicted injuries upon Plaintiffs
17   and Class members, including but not limited to, their PII ending up in the possession
18   of criminals, the risk of identity theft, invasion of privacy, the continued mitigation of
19   the materialized risk of identity theft, and the loss of benefit of the bargain.
20         68.    Plaintiffs and Class members entrusted their PII to Defendant and were
21   deprived of the benefit of their bargain. Plaintiffs had the reasonable expectation and
22   understanding that Defendant would take—at minimum—industry standard
23   precautions to protect, maintain, and safeguard that information from unauthorized
24   users or disclosure, and would timely notify them of any data security incidents. After
25   all, Plaintiffs would not have entrusted their PII to any entity that used Defendant’s
26   services had they known that Defendant would not take reasonable steps to safeguard
27   their information. Accordingly, Plaintiffs and Class members received products and/or
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     CLASS ACTION COMPLAINT
1    services that were of a lesser value than what they reasonably expected to receive
2    under the bargains they struck with Defendant.
3          69.    The unencrypted PII of Plaintiffs and Class members will end up for sale
4    on the dark web because that is the modus operandi of hackers. In addition,
5    unencrypted PII may fall into the hands of companies that will use the detailed PII for
6    targeted marketing without the approval of Plaintiffs and Class members.
7    Unauthorized individuals can easily access the PII of Plaintiffs and Class members.
8          70.    The link between a data breach and the risk of identity theft is simple and
9    well established. Criminals acquire and steal PII to monetize the information.
10   Criminals monetize the data by selling the stolen information on the black market to
11   other criminals who then utilize the information to commit a variety of identity theft
12   related crimes.
13         71.    Given the type of targeted attack in this case and sophisticated criminal
14   activity, the type of PII involved, and the volume of data obtained in the Data Breach,
15   there is a strong probability that entire batches of stolen information have been placed,
16   or will be placed, on the black market/dark web for sale and purchase by criminals
17   intending to utilize the Private Information for identity theft crimes–—e.g., opening
18   bank accounts in the victims’ names to make purchases or to launder money; file false
19   tax returns; take out loans or lines of credit; or file false unemployment claims.
20         72.    Such fraud may go undetected until debt collection calls commence
21   months, or even years, later. An individual may not know that his or her Social
22   Security Number was used to file for unemployment benefits until law enforcement
23   notifies the individual’s employer of the suspected fraud. Fraudulent tax returns are
24   typically discovered only when an individual’s authentic tax return is rejected.
25         73.    Consequently, Plaintiffs and Class members are at a present and
26   continuous risk of fraud and identity theft for many years into the future.
27         74.    Plaintiffs and Class members suffered actual injury from having their PII
28   compromised in the Data Breach including, but not limited to, (a) damage to and
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     CLASS ACTION COMPLAINT
1    diminution in the value of their PII—a form of property that Defendant obtained from
2    Plaintiffs; (b) violation of their privacy rights; (c) the likely theft of their PII; (d)
3    fraudulent activity resulting from the Breach; and (e) present and continuing injury
4    arising from the increased risk of additional identity theft and fraud.
5          75.    As a result of the Data Breach, Plaintiffs and Class members also suffered
6    emotional distress because of the release of their PII—which they believed would be
7    protected from unauthorized access and disclosure. Now, Plaintiffs and Class members
8    will suffer anxiety about unauthorized parties viewing, selling, and/or using their PII
9    for nefarious purposes like identity theft and fraud.
10         76.    Plaintiffs and Class members have spent, and will spend additional time
11   in the future, on a variety of prudent actions to remedy the harms they have or may
12   experience as a result of the Data Breach, such as researching and verifying the
13   legitimacy of the Data Breach.
14         77.    Plaintiffs and Class members have a continuing interest in ensuring that
15   their PII, which, upon information and belief, remains in Defendant’s possession, is
16   protected and safeguarded from future breaches.
17         78.    Defendant’s use of outdated and insecure computer systems and software
18   that are easy to hack, and its failure to maintain adequate security measures and an up-
19   to-date technology security strategy, demonstrates a willful and conscious disregard
20   for privacy, and has failed to adequately protect the PII of Plaintiffs and potentially
21   thousands of members of the proposed Class to unscrupulous operators, con artists,
22   and outright criminals.
23         79.    Defendant’s failure to properly notify Plaintiffs and members of the
24   proposed Class of the Data Breach exacerbated Plaintiffs’ and the Class members’
25   injury by depriving them of the earliest ability to take appropriate measures to protect
26   their PII and take other necessary steps to mitigate the harm caused by the Data Breach.
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     CLASS ACTION COMPLAINT
1                                    CLASS ALLEGATIONS
2          80.    Plaintiffs bring this action individually and on behalf of all other persons
3    similarly situated, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(1),
4    23(b)(2), and 23(b)(3).
5          81.    Plaintiffs seek to represent a class defined as “All Individuals whose PII
6    was disclosed in the Data Breach (the “Class”).
7          82.    Plaintiffs also seek to represent a subclass defined as “All California
8    residents whose PII was disclosed in the Data Breach” (the “California Subclass”)
9          83.    Excluded from the Class are Defendant and its parents or subsidiaries,
10   any entities in which it has a controlling interest, as well as its officers, directors,
11   affiliates, legal representatives, heirs, predecessors, successors, and assigns. Also
12   excluded is any Judge to whom this case is assigned as well as their judicial staff and
13   immediate family members.
14         84.    Plaintiffs reserve the right to modify or amend the definition of the
15   proposed Class, as well as add subclasses, before the Court determines whether
16   certification is appropriate.
17         85.    The proposed Class meets the criteria for certification under Fed. R. Civ.
18   P. 23(a), (b)(2), and (b)(3).
19         86.     Numerosity. The Class members are so numerous that joinder of all
20   members is impracticable. Upon information and belief, Plaintiffs believe that the
21   proposed Class includes potentially hundreds of thousands of individuals who have
22   been damaged by Defendant’s conduct as alleged herein. The precise number of Class
23   members is unknown to Plaintiffs but may be ascertained from Defendant’s records.
24         87.    Commonality. There are questions of law and fact common to the Class
25   which predominate over any questions affecting only individual Class members. These
26   common questions of law and fact include, without limitation:
27                a. Whether Defendant engaged in the conduct alleged herein;
28                b. Whether Defendant’s conduct violated the FTCA;
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     CLASS ACTION COMPLAINT
1               c. When Defendant learned of the Data Breach;
2               d. Whether Defendant’s response to the Data Breach was adequate;
3               e. Whether Defendant unlawfully shared, lost, or disclosed Plaintiffs’
4                  and Class members’ PII;
5               f. Whether Defendant failed to implement and maintain reasonable
6                  security procedures and practices appropriate to the nature and scope
7                  of the PII compromised in the Data Breach;
8               g. Whether Defendant’s data security systems prior to and during the
9                  Data Breach complied with applicable data security laws and
10                 regulations;
11              h. Whether Defendant’s data security systems prior to and during the
12                 Data Breach were consistent with industry standards;
13              i. Whether Defendant owed a duty to Class members to safeguard their
14                 PII;
15              j. Whether Defendant breached its duty to Class members to safeguard
16                 their PII;
17              k. Whether hackers obtained Class members’ PII via the Data Breach;
18              l. Whether Defendant had a legal duty to provide timely and accurate
19                 notice of the Data Breach to Plaintiffs and the Class members;
20              m. Whether Defendant breached its duty to provide timely and accurate
21                 notice of the Data Breach to Plaintiffs and Class members;
22              n. Whether Defendant knew or should have known that its data security
23                 systems and monitoring processes were deficient;
24              o. What damages Plaintiffs and Class members suffered as a result of
25                 Defendant’s misconduct;
26              p. Whether Defendant’s conduct was negligent;
27              q. Whether Defendant was unjustly enriched;
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     CLASS ACTION COMPLAINT
1                  r. Whether Plaintiffs and Class members are entitled to actual and/or
2                     statutory damages;
3                  s. Whether Plaintiffs and Class members are entitled to additional credit
4                     or identity monitoring and monetary relief; and
5                  t. Whether Plaintiffs and Class members are entitled to equitable relief,
6                     including injunctive relief, restitution, disgorgement, and/or the
7                     establishment of a constructive trust.
8            88.   Typicality. Plaintiffs’ claims are typical of those of other Class members
9    because Plaintiffs’ PII, like that of every other Class Member, was compromised in
10   the Data Breach. Plaintiffs’ claims are typical of those of the other Class members
11   because, inter alia, all Class members were injured through the common misconduct
12   of Defendant. Plaintiffs are advancing the same claims and legal theories on behalf of
13   themselves and all other Class members, and there are no defenses that are unique to
14   Plaintiffs. The claims of Plaintiffs and those of Class members arise from the same
15   operative facts and are based on the same legal theories.
16           89.   Adequacy of Representation. Plaintiffs will fairly and adequately
17   represent and protect the interests of Class members. Plaintiffs’ counsel is competent
18   and experienced in litigating class actions, including data privacy litigation of this
19   kind.
20           90.   Predominance. Defendant has engaged in a common course of conduct
21   toward Plaintiffs and Class members in that all of Plaintiffs’ and Class members’ data
22   was stored on the same computer systems and unlawfully accessed and exfiltrated in
23   the same way. The common issues arising from Defendant’s conduct affecting Class
24   members set out above predominate over any individualized issues. Adjudication of
25   these common issues in a single action has important and desirable advantages of
26   judicial economy.
27           91.   Superiority. A Class action is superior to other available methods for the
28   fair and efficient adjudication of this controversy and no unusual difficulties are likely
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     CLASS ACTION COMPLAINT
1    to be encountered in the management of this class action. Class treatment of common
2    questions of law and fact is superior to multiple individual actions or piecemeal
3    litigation. Absent a Class action, most Class members would likely find that the cost
4    of litigating their individual claims is prohibitively high and would therefore have no
5    effective remedy. The prosecution of separate actions by individual Class members
6    would create a risk of inconsistent or varying adjudications with respect to individual
7    Class members, which would establish incompatible standards of conduct for
8    Defendant. In contrast, conducting this action as a class action presents far fewer
9    management difficulties, conserves judicial resources and the parties’ resources, and
10   protects the rights of each Class Member.
11         92.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2).
12   Defendant has acted and/or refused to act on grounds generally applicable to the Class
13   such that final injunctive relief and/or corresponding declaratory relief is appropriate
14   as to the Class as a whole.
15         93.    Finally, all members of the proposed Class are readily ascertainable.
16   Defendant has access to the names and addresses and/or email addresses of Class
17   members affected by the Data Breach.
18                                        COUNT I
                              Negligence and Negligence Per Se
19
                            (On behalf of Plaintiffs and the Class)
20         94.    Plaintiffs restate and reallege each and every paragraph above as if fully
21   set forth herein.
22         95.    Defendant requires its consumers, including Plaintiffs and Class
23   members, to submit non-public PII in the ordinary course of providing its services.
24         96.    Defendant gathered and stored the PII of Plaintiffs and Class members as
25   part of its business of soliciting its services to its consumers, which solicitations and
26   services affect commerce.
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     CLASS ACTION COMPLAINT
1          97.    Plaintiffs and Class members entrusted Defendant with their PII with the
2    understanding that Defendant would safeguard their information.
3          98.    Defendant had full knowledge of the sensitivity of the PII and the types
4    of harm that Plaintiffs and Class members could and would suffer if the PII were
5    wrongfully disclosed.
6          99.    By assuming the responsibility to collect and store this data, and in fact
7    doing so, and sharing it and using it for commercial gain, Defendant had a duty of care
8    to use reasonable means to secure and to prevent disclosure of the information, and to
9    safeguard the information from theft.
10         100. Defendant had a duty to employ reasonable security measures under
11   Section 5 of the FTCA, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or
12   affecting commerce,” including, as interpreted and enforced by the FTC, the unfair
13   practice of failing to use reasonable measures to protect confidential data.
14         101. Defendant owed a duty of care to Plaintiffs and Class members to provide
15   data security consistent with industry standards and other requirements discussed
16   herein, and to ensure that its systems and networks, and the personnel responsible for
17   them, adequately protected the PII.
18         102. Defendant's duty of care to use reasonable security measures arose as a
19   result of the special relationship that existed between Defendant and Plaintiffs and
20   Class members. That special relationship arose because Plaintiffs and the Class
21   entrusted Defendant with their confidential PII, a necessary part of being consumers
22   of Defendant.
23         103. Defendant’s duty to use reasonable care in protecting confidential data
24   arose not only as a result of the statutes and regulations described above, but also
25   because Defendant is bound by industry standards to protect confidential PII.
26         104. Defendant was subject to an “independent duty,” untethered to any
27   contract between Defendant and Plaintiffs or the Class.
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     CLASS ACTION COMPLAINT
1           105. Defendant also had a duty to exercise appropriate clearinghouse practices
2    to remove former consumers’ PII it was no longer required to retain pursuant to
3    regulations.
4           106. Moreover, Defendant had a duty to promptly and adequately notify
5    Plaintiffs and the Class of the Data Breach.
6           107. Defendant had and continues to have a duty to adequately disclose that
7    the PII of Plaintiffs and the Class within Defendant’s possession might have been
8    compromised, how it was compromised, and precisely the types of data that were
9    compromised and when. Such notice was necessary to allow Plaintiffs and the Class
10   to take steps to prevent, mitigate, and repair any identity theft and the fraudulent use
11   of their PII by third parties.
12          108. Defendant breached its duties, pursuant to the FTCA and other applicable
13   standards, and thus was negligent, by failing to use reasonable measures to protect
14   Class members’ PII. The specific negligent acts and omissions committed by
15   Defendant include, but are not limited to, the following:
16                  a. Failing to adopt, implement, and maintain adequate security measures
17                     to safeguard Class members’ PII;
18                  b. Failing to adequately monitor the security of their networks and
19                     systems;
20                  c. Failing to audit, monitor, or ensure the integrity of its vendor’s data
21                     security practices;
22                  d. Allowing unauthorized access to Class members’ PII;
23                  e. Failing to detect in a timely manner that Class members’ PII had been
24                     compromised;
25                  f. Failing to remove former consumers’ PII it was no longer required to
26                     retain pursuant to regulations; and
27                  g. Failing to timely and adequately notify Class members about the Data
28                     Breach’s occurrence and scope, so that they could take appropriate
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     CLASS ACTION COMPLAINT
1                      steps to mitigate the potential for identity theft and other damages.
2             109. Defendant violated Section 5 of the FTCA by failing to use reasonable
3    measures to protect PII and not complying with applicable industry standards, as
4    described in detail herein. Defendant’s conduct was particularly unreasonable given
5    the nature and amount of PII it obtained and stored and the foreseeable consequences
6    of the immense damages that would result to Plaintiffs and the Class.
7             110. Plaintiffs and Class members were within the class of persons the FTCA
8    was intended to protect and the type of harm that resulted from the Data Breach was
9    the type of harm it was intended to guard against.
10            111. Defendant’s violation of Section 5 of the FTCA constitutes negligence
11   per se.
12            112. The FTC has pursued enforcement actions against businesses, which, as
13   a result of their failure to employ reasonable data security measures and avoid unfair
14   and deceptive practices, caused the same harm as that suffered by Plaintiffs and the
15   Class.
16            113. A breach of security, unauthorized access, and resulting injury to
17   Plaintiffs and the Class was reasonably foreseeable, particularly in light of Defendant’s
18   inadequate security practices.
19            114. It was foreseeable that Defendant’s failure to use reasonable measures to
20   protect Class members’ PII would result in injury to Class members. Further, the
21   breach of security was reasonably foreseeable given the known high frequency of
22   cyberattacks and data breaches in the entertainment industry.
23            115. Defendant has full knowledge of the sensitivity of the PII and the types
24   of harm that Plaintiffs and the Class could and would suffer if the PII were wrongfully
25   disclosed.
26            116. Plaintiffs and the Class were the foreseeable and probable victims of any
27   inadequate security practices and procedures. Defendant knew or should have known
28   of the inherent risks in collecting and storing the PII of Plaintiffs and the Class, the
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     CLASS ACTION COMPLAINT
1    critical importance of providing adequate security of that PII, and the necessity for
2    encrypting PII stored on Defendant’s systems.
3          117. It was therefore foreseeable that the failure to adequately safeguard Class
4    members’ PII would result in one or more types of injuries to Class members.
5          118. Plaintiffs and the Class had no ability to protect their PII that was in, and
6    possibly remains in, Defendant’s possession.
7          119. Defendant was in a position to protect against the harm suffered by
8    Plaintiffs and the Class as a result of the Data Breach.
9          120. Defendant’s duty extended to protecting Plaintiffs and the Class from the
10   risk of foreseeable criminal conduct of third parties, which has been recognized in
11   situations where the actor’s own conduct or misconduct exposes another to the risk or
12   defeats protections put in place to guard against the risk, or where the parties are in a
13   special relationship. See Restatement (Second) of Torts § 302B. Numerous courts and
14   legislatures have also recognized the existence of a specific duty to reasonably
15   safeguard personal information.
16         121. Defendant has admitted that the PII of Plaintiffs and the Class was
17   wrongfully lost and disclosed to unauthorized third persons as a result of the Data
18   Breach.
19         122. But for Defendant’s wrongful and negligent breach of duties owed to
20   Plaintiffs and the Class, the PII of Plaintiffs and the Class would not have been
21   compromised.
22         123. There is a close causal connection between Defendant’s failure to
23   implement security measures to protect the PII of Plaintiffs and the Class and the harm,
24   or risk of imminent harm, suffered by Plaintiffs and the Class. The PII of Plaintiffs
25   and the Class was lost and accessed as the proximate result of Defendant’s failure to
26   exercise reasonable care in safeguarding such PII by adopting, implementing, and
27   maintaining appropriate security measures.
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     CLASS ACTION COMPLAINT
1          124. As a direct and proximate result of Defendant’s negligence, Plaintiffs and
2    the Class have suffered and will suffer injury, including but not limited to: (i) invasion
3    of privacy; (ii) theft of PII; (iii) lost or diminished value of PII; (iv) lost time and
4    opportunity costs associated with attempting to mitigate the actual consequences of
5    the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated
6    with attempting to mitigate the actual consequences of the Data Breach; and (vii) the
7    continued and certainly increased risk to their PII, which: (a) remains unencrypted and
8    available for unauthorized third parties to access and abuse; and (b) remains backed
9    up in Defendant’s possession and is subject to further unauthorized disclosures so long
10   as Defendant fails to undertake appropriate and adequate measures to protect the PII.
11         125. As a direct and proximate result of Defendant’s negligence, Plaintiffs and
12   the Class have suffered and will continue to suffer other forms of injury and/or harm,
13   including, but not limited to, anxiety, emotional distress, loss of privacy, and other
14   economic and non-economic losses.
15         126. Additionally, as a direct and proximate result of Defendant’s negligence,
16   Plaintiffs and the Class have suffered and will suffer the continued risks of exposure
17   of their PII, which remain in Defendant’s possession and is subject to further
18   unauthorized disclosures so long as Defendant fails to undertake appropriate and
19   adequate measures to protect the PII in its continued possession.
20         127. Plaintiffs and Class members are entitled to compensatory and
21   consequential damages suffered as a result of the Data Breach.
22         128. Defendant’s negligent conduct is ongoing, in that it still holds the PII of
23   Plaintiffs and Class members in an unsafe and insecure manner.
24         129. Plaintiffs and Class members are also entitled to injunctive relief
25   requiring Defendant to (i) strengthen its data security systems and monitoring
26   procedures; (ii) submit to future annual audits of those systems and monitoring
27   procedures; and (iii) continue to provide adequate credit monitoring to all Class
28   members.
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     CLASS ACTION COMPLAINT
1                                        COUNT II
                                Breach of Implied Contract
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                            (On Behalf of Plaintiffs and the Class)
3          130. Plaintiffs restate and reallege each and every paragraph above as fully set
4    forth herein.
5          131. Plaintiffs and Class members were required to provide their PII to
6    Defendant as a condition of receiving services and loyalty program membership from
7    Defendant.
8          132. Plaintiffs and the Class entrusted their PII to Defendant. In so doing,
9    Plaintiffs and the Class entered into implied contracts with Defendant by which
10   Defendant agreed to safeguard and protect such information, to keep such information
11   secure and confidential, and to timely and accurately notify Plaintiffs and the Class if
12   their data had been breached and compromised or stolen.
13         133. In entering into such implied contracts, Plaintiffs and Class members
14   reasonably believed and expected that Defendant’s data security practices complied
15   with relevant laws and regulations and were consistent with industry standards.
16         134. Implicit in the agreement between Plaintiffs and Class members and the
17   Defendant to provide PII, was the latter’s obligation to: (a) use such PII for business
18   purposes only, (b) take reasonable steps to safeguard that PII, (c) prevent unauthorized
19   disclosures of the PII, (d) provide Plaintiffs and Class members with prompt and
20   sufficient notice of any and all unauthorized access and/or theft of their PII, (e)
21   reasonably safeguard and protect the PII of Plaintiffs and Class members from
22   unauthorized disclosure or uses, (f) retain the PII only under conditions that kept such
23   information secure and confidential.
24         135. The mutual understanding and intent of Plaintiffs and Class members on
25   the one hand, and Defendant, on the other, is demonstrated by their conduct and course
26   of dealing.
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     CLASS ACTION COMPLAINT
1          136. Defendant solicited, offered, and invited Plaintiffs and Class members to
2    provide their PII as part of Defendant’s regular business practices. Plaintiffs and Class
3    members accepted Defendant’s offers and provided their PII to Defendant.
4          137. In accepting the PII of Plaintiffs and Class members, Defendant
5    understood and agreed that it was required to reasonably safeguard the PII from
6    unauthorized access or disclosure.
7          138. On information and belief, at all relevant times Defendant promulgated,
8    adopted, and implemented written privacy policies whereby it expressly promised
9    Plaintiffs and Class members that it would only disclose PII under certain
10   circumstances, none of which relate to the Data Breach.
11         139. On information and belief, Defendant further promised to comply with
12   industry standards and to make sure that Plaintiffs’ and Class members’ PII would
13   remain protected.
14         140. Plaintiffs and Class members paid money and provided their PII to
15   Defendant with the reasonable belief and expectation that Defendant would use part
16   of its earnings to obtain adequate data security. Defendant failed to do so.
17         141. Plaintiffs and Class members would not have entrusted their PII to
18   Defendant in the absence of the implied contract between them and Defendant to keep
19   their information reasonably secure.
20         142. Plaintiffs and Class members would not have entrusted their PII to
21   Defendant in the absence of their implied promise to monitor their computer systems
22   and networks to ensure that it adopted reasonable data security measures.
23         143. Plaintiffs and Class members fully and adequately performed their
24   obligations under the implied contracts with Defendant.
25         144. Defendant breached the implied contracts it made with Plaintiffs and the
26   Class by failing to safeguard and protect their personal information, by failing to delete
27   the information of Plaintiffs and the Class once the relationship ended, and by failing
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     CLASS ACTION COMPLAINT
1    to provide accurate notice to them that personal information was compromised as a
2    result of the Data Breach.
3          145. As a direct and proximate result of Defendant’s breach of the implied
4    contracts, Plaintiffs and Class members sustained damages, as alleged herein,
5    including the loss of the benefit of the bargain.
6          146. Plaintiffs and Class members are entitled to compensatory, consequential,
7    and nominal damages suffered as a result of the Data Breach.
8          147. Plaintiffs and Class members are also entitled to injunctive relief
9    requiring Defendant to, e.g., (i) strengthen its data security systems and monitoring
10   procedures; (ii) submit to future annual audits of those systems and monitoring
11   procedures; and (iii) immediately provide adequate credit monitoring to all Class
12   members.
13                                       COUNT III
                              Restitution or Unjust Enrichment
14
                            (On Behalf of Plaintiffs and the Class)
15         148. Plaintiffs restate and reallege each and every paragraphs above as if fully
16   set forth herein.
17         149. This count is pleaded in the alternative to the Breach of Implied Contract
18   claim above (Count II).
19         150. Plaintiffs and Class members conferred a monetary benefit on Defendant.
20   Specifically, they paid for services from and enrolled in loyalty program membership
21   with Defendant and in so doing also provided Defendant with their PII. In exchange,
22   Plaintiffs and Class members should have received from Defendant the services that
23   were the subject of the transaction and should have had their PII protected with
24   adequate data security.
25         151. Defendant knew that Plaintiffs and Class members conferred a benefit
26   upon it and has accepted and retained that benefit by accepting and retaining the PII
27   entrusted to it. Defendant profited from Plaintiffs’ retained data and used Plaintiffs’
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     CLASS ACTION COMPLAINT
1    and Class members’ PII for business purposes.
2          152. Defendant failed to secure Plaintiffs’ and Class members’ PII and,
3    therefore, did not fully compensate Plaintiffs or Class members for the value that their
4    PII provided.
5          153. Defendant acquired the PII through inequitable record retention as it
6    failed to disclose the inadequate data security practices previously alleged.
7          154. If Plaintiffs and Class members had known that Defendant would not use
8    adequate data security practices, procedures, and protocols to adequately monitor,
9    supervise, and secure their PII, they would not have entrusted their PII at Defendant
10   or obtained loyalty program membership at Defendant.
11         155. Plaintiffs and Class members have no adequate remedy at law.
12         156. Under the circumstances, it would be unjust for Defendant to be permitted
13   to retain any of the benefits that Plaintiffs and Class members conferred upon it.
14         157. As a direct and proximate result of Defendant’s conduct, Plaintiffs and
15   Class members have suffered and will suffer injury, including but not limited to: (i)
16   invasion of privacy; (ii) theft of PII; (iii) lost or diminished value of PII; (iv) lost time
17   and opportunity costs associated with attempting to mitigate the actual consequences
18   of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs
19   associated with attempting to mitigate the actual consequences of the Data Breach;
20   and (vii) the continued and certainly increased risk to their PII, which: (a) remains
21   unencrypted and available for unauthorized third parties to access and abuse; and (b)
22   remains backed up in Defendant’s possession and is subject to further unauthorized
23   disclosures so long as Defendant fails to undertake appropriate and adequate measures
24   to protect the PII.
25         158. Plaintiffs and Class members are entitled to full refunds, restitution,
26   and/or damages from Defendant and/or an order proportionally disgorging all profits,
27   benefits, and other compensation obtained by Defendant from its wrongful conduct.
28   This can be accomplished by establishing a constructive trust from which the Plaintiffs
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     CLASS ACTION COMPLAINT
1    and Class members may seek restitution or compensation.
2          159. Plaintiffs have no adequate remedy at law for this claim. Plaintiffs
3    plead their claim for unjust enrichment in the alternative, which inherently would
4    necessitate a finding of no adequate remedy at law. Alternatively, legal remedies
5    available to Plaintiffs are inadequate because they are not “equally prompt and
6    certain and in other ways efficient” as equitable relief. American Life Ins. Co. v.
7    Stewart, 300 U.S. 203, 214 (1937); see also U.S. v. Bluitt, 815 F. Supp. 1314, 1317
8    (N.D. Cal. Oct. 6, 1992) (“the ‘mere existence’ of a possible legal remedy is not
9    sufficient to warrant denial of equitable relief”); Quist v. Empire Water Co., 2014
10   Cal. 646, 643 (1928) (“The mere fact that there may be a remedy at law does not oust
11   the jurisdiction of a court of equity. To have this effect, the remedy must also be
12   speedy, adequate, and efficacious to the end in view … It must reach the whole
13   mischief and secure the whole right of the party in a perfect manner at the present
14   time and not in the future”). Furthermore:
15                a. To the extent damages are available here, damages are not equally
16                   certain as restitution because the standard that governs ordering
17                   restitution is different than the standard that governs damages.
18                   Hence, the Court may award restitution even if it determines that
19                   Plaintiffs fail to sufficiently adduce evidence to support an award of
20                   damages.
21                b. Damages and restitution are not necessarily the same amount. Unlike
22                   damages, restitution is not limited to the amount of money defendant
23                   wrongfully acquired plus the legal rate of interest. Equitable relief,
24                   including restitution, entitles Plaintiffs to recover all profits from the
25                   wrongdoing, even where the original funds taken have grown far
26                   greater than the legal rate of interest would recognize. Plaintiffs seek
27                   such relief here.
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1                 c. Legal claims for damages are not equally certain as restitution
2                        because claims under the UCL and unjust enrichment entail few
3                        elements.
4          160. A claimant otherwise entitled to a remedy for unjust enrichment,
5    including a remedy originating in equity, need not demonstrate the inadequacy of
6    available remedies at law.” Restatement (Third) of Restitution, § 4(2).
7                                        COUNT IV
                             California Customer Records Act
8
                             Cal. Civ. Code §§ 1798.80, et seq.
9                    (On Behalf of Plaintiffs and the California Subclass)
10         161. Plaintiffs restate and reallege each and every paragraphs above as if fully
11   set forth herein.
12         162. “[T]o ensure that personal information about California residents is
13   protected,” the California legislature enacted Cal. Civ. Code § 1798.81.5, which
14   requires that any business that “owns, licenses, or maintains personal information
15   about a California resident shall implement and maintain reasonable security
16   procedures and practices appropriate to the nature of the information, to protect the PII
17   from unauthorized access, destruction, use, modification, or disclosure.”
18         163. MGM is a business that owns, maintains, and licenses personal
19   information (or “PII”), within the meaning of Cal. Civ. Code § 1798.81.5, of Plaintiffs
20   and Class members.
21         164. Businesses that own or license computerized data that includes PII,
22   including Social Security numbers, are required to notify California residents when
23   their PII has been acquired (or is reasonably believed to have been acquired) by
24   unauthorized persons in a data security breach “in the most expedient time possible
25   and without unreasonable delay.” Cal. Civ. Code § 1798.82. Among other
26   requirements, the security breach notification must include “the types of PII that were
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     CLASS ACTION COMPLAINT
1    or are reasonably believed to have been the subject of the breach.” Cal. Civ. Code §
2    1798.82.
3          165. MGM is a business that owns or licenses computerized data that includes
4    PII as defined by Cal. Civ. Code § 1798.82.
5          166. Plaintiffs’ and Class members’ PII (e.g., Social Security numbers)
6    includes PII as covered by Cal. Civ. Code § 1798.82.
7          167. Because MGM reasonably believed that Plaintiffs’ and Class members’
8    PII was acquired by unauthorized persons during the MGM Data Breach, MGM had
9    an obligation to disclose the Data Breach in a timely and accurate fashion as mandated
10   by Cal. Civ. Code § 1798.82.
11         168. MGM failed to fully disclose material information about the Data Breach,
12   including the types of PII impacted.
13         169. By failing to disclose the Data Breach in a timely and accurate manner,
14   MGM violated Cal. Civ. Code § 1798.82.
15         170. As a direct and proximate result of MGM’s violations of the Cal. Civ.
16   Code §§ 1798.81.5 and 1798.82, Plaintiffs and Class members suffered damages, as
17   described above.
18         171. Plaintiffs and Class members seek relief under Cal. Civ. Code § 1798.84,
19   including actual damages and injunctive relief.
20                                        COUNT V
                            California Unfair Competition Act
21
                          Cal. Bus. & Prof. Code §§ 17200, et seq.
22                   (On Behalf of Plaintiffs and the California Subclass)
23         172. Plaintiffs restate and reallege each and every paragraphs above as if fully
24   set forth herein.
25         173. MGM is a “person” as defined by Cal. Bus. & Prof. Code §17201.
26         174. MGM violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by
27   engaging in unlawful, unfair, and deceptive business acts and practices.
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1          175. MGM’s “unfair” acts and practices include:
2                a. MGM failed to implement and maintain reasonable security measures
3                   to protect Plaintiffs’ and Class members’ PII from unauthorized
4                   disclosure, release, data breaches, and theft, which was a direct and
5                   proximate cause of the Data Breach.
6                b. MGM failed to identify foreseeable security risks, remediate
7                   identified security risks, and adequately improve security following
8                   previous cybersecurity incidents, as described herein. This conduct,
9                   with little if any utility, is unfair when weighed against the harm to
10                  Plaintiffs and Class members, whose PII has been compromised.
11               c. MGM’s failure to implement and maintain reasonable security
12                  measures also was contrary to legislatively declared public policy that
13                  seeks to protect consumers’ data and ensure that entities that are
14                  trusted with it use appropriate security measures. These policies are
15                  reflected in laws, including the FTC Act, 15 U.S.C. § 45, California’s
16                  Consumer Records Act, Cal. Civ. Code § 1798.81.5, and California’s
17                  Consumer Privacy Act, Cal. Civ. Code § 1798.100.
18               d. MGM’s failure to implement and maintain reasonable security
19                  measures also resulted in substantial consumer injuries, as described
20                  above, that are not outweighed by any countervailing benefits to
21                  consumers or competition. Moreover, because consumers could not
22                  know of MGM’s grossly inadequate security, consumers could not
23                  have reasonably avoided the harms that MGM caused.
24               e. MGM engaged in unlawful business practices by violating Cal. Civ.
25                  Code § 1798.82.
26         176. MGM has engaged in “unlawful” business practices by violating multiple
27   laws, including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5
28   (requiring reasonable data security measures) and 1798.82 (requiring timely breach
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1    notification), California’s Consumers Legal Remedies Act, Cal. Civ. Code §§ 1780,
2    et seq., the FTC Act, 15 U.S.C. § 45, and California common law.
3          177. MGM’s unlawful, unfair, and deceptive acts and practices include:
4                a. Failing to implement and maintain reasonable security and privacy
5                   measures to protect Plaintiffs’ and Class member’s members’ PII,
6                   which was a direct and proximate cause of the Data Breach;
7                b. Failing to identify and remediate foreseeable security and privacy
8                   risks and adequately improve security and privacy measures despite
9                   knowing the risk of cybersecurity incidents, which was a direct and
10                  proximate cause of the Data Breach;
11               c. Failing to comply with common law and statutory duties pertaining to
12                  the security and privacy of Plaintiffs’ and Class members’ PII,
13                  including duties imposed by the FTC Act, 15 U.S.C. § 45, which was
14                  a direct and proximate cause of the Data Breach;
15               d. Misrepresenting     that   they   would    protect   the   privacy    and
16                  confidentiality of Plaintiffs’ and Class members’ PII, including by
17                  implementing and maintaining reasonable security measures;
18               e. Misrepresenting that they would comply with common law and
19                  statutory duties pertaining to the security and privacy of Plaintiffs’ and
20                  Class members’ PII, including duties imposed by the FTC Act, 15
21                  U.S.C. § 45;
22               f. Omitting, suppressing, and concealing the material fact that it did not
23                  reasonably or adequately secure Plaintiffs’ and Class members’ PII;
24                  and
25               g. Omitting, suppressing, and concealing the material fact that they did
26                  not comply with common law and statutory duties pertaining to the
27                  security and privacy of Plaintiffs’ and Class members’ PII, including
28                  duties imposed by the FTC Act, 15 U.S.C. § 45, California’s
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1                    Consumer Privacy Act, Cal. Civ. Code § 1798.100, California’s
2                    Consumer Records Act, Cal. Civ. Code §§ 1798.80, et seq. and
3                    1798.81.5, which was a direct and proximate cause of the Data
4                    Breach.
5          178. MGM’s representations and omissions were material because they were
6    likely to deceive reasonable consumers about the adequacy of MGM’s data security
7    and ability to protect the confidentiality of consumers’ PII.
8          179. As a direct and proximate result of MGM’s unfair, unlawful, and
9    fraudulent acts and practices, Plaintiffs and Class members were injured and suffered
10   monetary and non-monetary damages, as described herein, including but not limited
11   to fraud and identity theft; time and expenses related to monitoring their financial
12   accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;
13   loss of value of their PII; overpayment for MGM’s services; loss of the value of access
14   to their PII; and the value of identity protection services made necessary by the Breach.
15         180. MGM acted intentionally, knowingly, and maliciously to violate
16   California’s Unfair Competition Law, and recklessly disregarded Plaintiffs’ and Class
17   members rights. MGM’s numerous past data breaches put it on notice that its security
18   and privacy protections were inadequate.
19         181. Plaintiffs and Class members seek all monetary and non-monetary relief
20   allowed by law, including restitution of all profits stemming from MGM’s unfair,
21   unlawful, and fraudulent business practices or use of their PII; declaratory relief;
22   reasonable attorneys’ fees and costs under California Code of Civil Procedure §
23   1021.5; injunctive relief; and other appropriate equitable relief.
24                                  PRAYER FOR RELIEF
25         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
26             a.    For a determination that this action is a proper class action;
27             b.    For an order certifying the Classes, naming Plaintiffs as representative
28                   of the Classes, and naming Plaintiffs’ attorneys as Class Counsel to
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     CLASS ACTION COMPLAINT
1                  represent the Classes;
2            c.    For an order declaring that Defendant’s conduct violated the statutes
3                  referenced herein;
4            d.    For an order finding in favor of Plaintiffs and the Classes on all counts
5                  asserted herein;
6            e.    For an award of compensatory damages, including statutory damages
7                  where available, to Plaintiffs and the Class members against
8                  Defendant for all damages sustained as a result of Defendant’s
9                  wrongdoing, in an amount to be proven at trial;
10           f.    For punitive damages, as warranted, in an amount to be determined at
11                 trial;
12           g.    For an injunctive requiring Defendant to adequately safeguard the PII
13                 of Plaintiffs and the Classes by implementing security procedures,
14                 included but not limited to:
15                    i.    prohibiting Defendant from engaging in the wrongful and
16                          unlawful acts described herein;
17                   ii.    requiring Defendant to protect, including through encryption,
18                          all data collected through the course of business in accordance
19                          with all applicable regulations, industry standards, and federal,
20                          state or local laws;
21                  iii.    requiring Defendant to delete and purge the PII of Plaintiffs and
22                          Class members unless Defendant can provide to the Court
23                          reasonable justification for the retention and use of such
24                          information when weighed against the privacy interests of
25                          Plaintiffs and Class members;
26                  iv.     requiring   Defendant       to   implement   and    maintain    a
27                          comprehensive Information Security Program designed to
28                          protect the confidentiality and integrity of Plaintiffs’ and Class
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1                          members’ PII;
2                    v.    requiring Defendant to engage independent third-party security
3                          auditors and internal personnel to run automated security
4                          monitoring, simulated attacks, penetration tests, and audits on
5                          Defendant’s systems on a periodic basis;
6                   vi.    prohibiting Defendant from maintaining Plaintiffs’ and Class
7                          members’ PII on a cloud-based database until proper safeguards
8                          and processes are implemented;
9                  vii.    requiring Defendant to segment data by creating firewalls and
10                         access controls so that, if one area of Defendant’s network is
11                         compromised, hackers cannot gain access to other portion’s of
12                         Defendant’s systems;
13                 viii.   requiring Defendant to conduct regular database scanning and
14                         securing checks;
15                  ix.    requiring Defendant to monitor ingress and egress of all
16                         network traffic;
17                   x.    requiring Defendant to establish an information security
18                         training program that includes at least annual information
19                         security training for all employees, with additional training to
20                         be provided as appropriate based upon the employees’
21                         respective responsibilities with handling PII, as well as
22                         protecting the PII of Plaintiffs and Class members;
23                  xi.    requiring Defendant to implement a system of tests to assess
24                         their respective employees’ knowledge of the education
25                         programs discussed in the preceding subparagraphs, as well as
26                         randomly and periodically testing employees’ compliance with
27                         Defendant’s policies, programs, and systems for protecting
28                         personal identifying information;
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1                    xii.    requiring Defendant to implement, maintain, review, and revise
2                            as necessary a threat management program to appropriately
3                            monitor Defendant’s networks for internal and external threats,
4                            and assess whether monitoring tools are properly configured,
5                            tested, and updated; and
6                    xiii.   requiring Defendant to meaningfully educate all Class members
7                            about the threats that they face because of the loss of its
8                            confidential personal identifying information to third parties, as
9                            well as the steps affected individuals must take to protect
10                           themselves.
11         h.     For prejudgment interest on all amounts awarded;
12         i.     For an order awarding Plaintiffs and the Classes their reasonable
13                attorneys’ fees and expenses and costs of suit; and
14         j.     For an order granting Plaintiffs and Class members such further relief as
15                the Court deems appropriate.
16                              DEMAND FOR JURY TRIAL
17         Plaintiffs, on behalf of themselves and the proposed Classes, demand a trial by
18   jury for all of the claims asserted in this Complaint so triable.
19
20   Dated:                            BURSOR & FISHER, P.A.
21
                                       By:   /s/ L. Timothy Fisher
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